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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN

MADELINE KRASNO,

         Plaintiff,
                                                        Case No. 21-cv-99-slc
    v.

JENNIFER MNOOKIN, CHARLES
HOSLET, JOHN LUCAS, MIKE KLEIN,
and NATE MOLL,

         Defendants.


                             JUDGMENT IN A CIVIL CASE


         IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

defendants Jennifer Mnookin, Charles Hoslet, John Lucas, Mike Klein, and Nate

Moll and against plaintiff Madeline Krasno dismissing the case.




          s/ J. Titak, Deputy Clerk                               11/2/22
         Joel Turner, Clerk of Court                               Date
